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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

                                                   CRIMINAL No. 24-10364-IT
        v.

 TANIA FERNANDES ANDERSON,


        Defendant


                            JOINT INTERIM STATUS REPORT

       The parties request that the Court cancel the interim status conference scheduled for

March 5, 2025 as there are no matters needing the Court’s attention at this time.

       Pursuant to Local Rule 116.5(b), the parties state as follows:

       (1) Status of Automatic Discovery and Pending Discovery Requests

       The government produced discovery on January 3, 2025 and January 31, 2025. There are

no pending discovery requests at this time. The defendant is reviewing the discovery produced

by the government.

       (2) Timing of Any Additional Discovery to Be Produced

       Should the government obtain additional Rule 16 discovery, the government will provide

it to the defendant pursuant to the Local and Federal Rules, and its discovery obligations,

otherwise.

       (3) Timing of Any Additional Discovery Requests

       The defendant has not made any additional discovery requests.

       (4) Protective Orders

       The Court has entered a protective order in this case. See Docket No. 24.
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         (5) Pretrial Motions Under Fed. R. Crim. P. 12(b)

         The defendant requests additional time to review discovery to determine if any pre-trial

motions will be filed in this matter.

         (6) Timing of Expert Disclosures

         Should expert testimony be necessary, the government agrees to make the requisite

expert disclosures 45 days before trial; and the defendant agrees to make expert disclosures 21

days before trial.

         (7) Defenses of Insanity, Public Authority, or Alibi

         The defendant does not intend to raise a defense of insanity, public authority or alibi.

         (8) Speedy Trial Act Calculation

         The parties request that the Court exclude the period from March 5, 2025 to the date of

the final status conference under 18 U.S.C. § 3161(h)(7) in order that the defendant may have

adequate time to review discovery.

         (9) Estimated Length of Trial

         If a trial is necessary, the parties estimate that it would take approximately one and a half

weeks.

         (10) Next Status Conference

         The parties request that the Court convene a final status conference in approximately 60

days or at a date thereafter that is convenient for the Court.




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                                                      Respectfully submitted,

                                                      LEAH B. FOLEY
                                                      United States Attorney

                                                      /s/ John T. Mulcahy
                                                      Dustin Chao
                                                      John T. Mulcahy
                                                      Assistant U.S. Attorneys


                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing and

paper copies will be sent to those indicated as non-registered participants.



                                                      /s/ John T. Mulcahy
                                                      John T. Mulcahy
                                                      Assistant U.S. Attorney

Date: February 27, 2025




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